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                                                    UNITED STATES DISTRICT COURT
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                                                 CENTRAL DISTRICT OF CALIFORNIA
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                   DEBORAH R. FORD, an individual,         )               Case No. 2:21-cv-04699 JFW (KESx)
              11                                           )
                              Plaintiff,                   )               ORDER GRANTING JOINT
              12                                           )               STIPULATION TO DISMISS ENTIRE
                       vs.                                 )               ACTION WITH PREJUDICE
              13                                           )
                 CIGNA CORP., a Delaware Corporation; LIFE )
              14 INSURANCE COMPANY OF NORTH                )               Judge:   Hon. John F. Walter
                 AMERICA, a Pennsylvania Corporation; and )
              15 CIGNA GROUP INSURANCE; AMERICAN )                         Complaint Filed:       April 13, 2021
                 FAMILY LIFE ASSURANCE COMPANY OF )
              16 COLUMBUS (AFLAC), a Georgia               )
                 Corporation,                              )
              17                                           )
                              Defendants.                  )
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                              Based upon the stipulation of the parties and for good cause shown,
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                              IT IS HEREBY ORDERED that this action, Case No. 2:21-cv-04699 JFW (KESx), is
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                   dismissed in its entirety as to all defendants with prejudice. All dates set in this matter are hereby
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                   vacated and taken off calendar.
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                              IT IS HEREBY FURTHER ORDERED that each party shall bear his or its own attorneys’
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                   fees and costs in this matter.
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                              IT IS SO ORDERED.
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                   Dated: November 30, 2021
              27                                                   Hon. John F. Walter
                                                                   United States District Judge
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LAW OFFICES
 MESERVE,                                                              1
 MUMPER &
HUGHES LLP
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